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                                                              UI
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                                                                                                                Jason A. Nagi
       July 23, 201$
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                                                                                                                (212)684-0197 Fax
                                                                                                                jnagipolsinelli.com
       Via gleetronic Filmg

       Honorable freda L. Wolfson
                                                                                    IT IS $0 ORDERED.
       United States District Judge
       United States District Court                                                          s

       Clarkson S. fisher Building
       & U.S. Courthouse
                                                                                      —f&                (—1)   c
                                                                                    FPEDA L. WOLFSO                        U.S.D.J.
       402 East State Street                                                           /                               ,
                                                                                                                                             /
       Trenton, NJ 0860$

                     Re:            Linus Holding Corp., v. Mark Line Industries, LLC, et at, Case No. 17-cv-3694
                                    (FLW) (DEA)

       Dear Judge Wolfson:

               I am counsel for Kory Reimann, a defendant in the above-referenced litigation. I write,
       with the consent of Mr. Andrew Karas, Esq., counsel for plaintiff, to request a 30 day extension
       of time to respond to the first amended complaint, until August 23, 2018. We believe Mr.
       Reimann was served with process on June 29, 2018, making a response due today.

              This is Mr. Reimann’ $ first request for an extension of time. Should Your Honor prefer
       that we provide a stipulation, we will do so upon request.

                                                                          Sincerely,


                                                                        ,AAJ /t
                                                      fJason A. Nagi
       cc:           YiaEmil
                     Andrew Karas, Esq. (counsel for plaintiff)




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